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                Exhibit D
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10   A o ne       fo Defendan TOTAL MERCHANT SERVICES, INC.
11                                 UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA
13   ABANTE ROOTER AND PLUMBING, INC, a Ca e No: 3:19-c -05711
     Califo nia co o a ion, indi id all and on
14   behalf of all o he imila l i a ed,        DEFENDANT S OBJECTIONS AND
                                               RESPONSES TO PLAINTIFF S FIRST
15                   Plain iff,                SET OF REQUESTS FOR PRODUCTION
16            .
                                                    Da e Ac ion Filed: Se embe 11, 2019
17   TOTAL MERCHANT SERVICES, LLC., a
     Dela a e limi ed liabili com an ,
18
                     Defendan .
19

20

21         Defendan , TOTAL MERCHANT SERVICES, LLC ( Defendan               o    TMS ), b and

22   h o gh nde igned co n el, he eb file i      e on e and objec ion o he Fi    Se of Re e

23   fo P od c ion ( Re e          ) da ed Decembe 23, 2019, and e ed b     Plain iff, ABANTE

24   ROOTER AND PLUMBING, INC. ( Plain iff ), and a e a follo        :

25                                   PRELIMINAR STATEMENT

26         The follo ing e on e o he Re e         ( he Re on e ) a e made olel fo he           oe

27   of hi ac ion. TMS ha no com le ed i in e iga ion of he fac    ela ing o hi ca e, di co e

28
                                                                             Ca e No. 3:19-c -05711
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 1            The objec ion ha a l         o hi Re e con in e a follo            :
 2            TMS objec       o hi Re e a a g men a i e o he e en he Re e                       o     oa       me
 3   ce ain fac o o he        i e o e me e allega ion a fac . TMS f             he objec     o hi Re       e       o
 4   he e en i call fo a legal concl ion and                  ec la ion. TMS f       he objec       o he h a e
 5        fficien o Iden if      a    ag e and ambig o . TMS f              he objec   o hi Re e         and i
 6   incl ion of All Doc men            a o e l b oad and nd l b den ome on i face. TMS f                      he
 7   objec     o he defini ion of he e m Yo          a e fo h in Gene al Objec ion C,       p a. TMS f         he
 8   objec     o he ca i ali ed e m Yo           a    ag e and ambig o , a ic la l           he e, a he e, he
 9   ca i ali ed e m i no defined b           he Re e     .
10

11   REQUEST NO. 22: Of he Pe on iden ified in he Doc men                       od ced in e on e o Re          e
12   o P od ce No. 21 abo e, all Doc men                fficien o Iden if an Pe on         ho e e ed no o
13   be called.
14   ANS      ER: S bjec o and         i ho     ai ing he follo ing objec ion , TMS did no            od ce an
15   Doc men in e on e o Re e No. 21. Acco dingl , TMS i no in o e ion of doc men
16   e on i e o hi Re e .
17            The objec ion ha a l         o hi Re e con in e a follo            :
18            TMS objec       o hi Re e a a g men a i e o he e en he Re e                       o     oa       me
19   ce ain fac o o he        i e o e me e allega ion a fac . TMS f             he objec     o hi Re       e       o
20   he e en i call fo a legal concl ion and                  ec la ion. TMS f       he objec       o he h a e
21        fficien o Iden if      a    ag e and ambig o . TMS f              he objec   o hi Re e         and i
22   incl ion of all Doc men           a o e l b oad and nd l b den ome on i face.
23

24   REQUEST NO. 23: Of he Pe on iden ified in he Doc men                       od ced in e on e o Re          e
25   o P od ce No. 22 abo e, all Doc men                fficien o Iden if     hone n mbe     Yo ca ed (o a
26   hi d a       ac ing on Yo       behalf o fo Yo      benefi ca ed) o be called a lea once mo e han
27   hi      (30) da   af e he Pe on e e ed o no longe be called.
28
                                                                                           Ca e No. 3:19-c -05711
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 1   ANS      ER: S bjec o and            i ho       ai ing he follo ing objec ion , TMS did no            od ce an
 2   Doc men in e on e o Re e No. 22. Acco dingl , TMS i no in o e ion of doc men
 3   e on i e o hi Re e .
 4            The objec ion ha a l           o hi Re e con in e a follo              :
 5            TMS objec       o hi Re e a a g men a i e o he e en he Re e                            o     oa       me
 6   ce ain fac o o he        i e o e me e allega ion a fac . TMS f                  he objec      o hi Re      e     o
 7   he e en i call fo a legal concl ion and                     ec la ion. TMS f        he objec        o he h a e
 8        fficien o Iden if     a    ag e and ambig o . TMS f                he objec      o hi Re e          and i
 9   incl ion of all Doc men              a o e l b oad and nd l b den ome on i face. TMS f                         he
10   objec     o he defini ion of he e m Yo               a e fo h in Gene al Objec ion C,       p a. TMS f         he
11   objec     o he ca i ali ed e m Yo               a     ag e and ambig o , a ic la l           he e, a he e, he
12   ca i ali ed e m i no defined b              he Re e      . TMS f      he objec      o he mi     a emen of he
13   la con ained in hi Re          e .
14

15   REQUEST NO. 24: Fo all Pe on Iden ified in Doc men                          od ced in e on e o Re e
16   No. 23 abo e, all Doc men              fficien o Iden if all         ch Pe on       ho Yo ca ed (o a hi d
17    a      ac ing on Yo     behalf o fo Yo             benefi ca ed) o be called fo he ame                o e Yo
18   ca ed (o a hi d a          ac ing on Yo             behalf o fo Yo     benefi ca ed) Plain iff o be called
19     ing he Dialing E i men ha                 a    ed o call he Plain iff.
20   ANS      ER: S bjec o and            i ho       ai ing he follo ing objec ion , TMS did no            od ce an
21   Doc men in e on e o Re e No. 23. Acco dingl , TMS i no in o e ion of doc men
22   e on i e o hi Re e .
23            The objec ion ha a l           o hi Re e con in e a follo              :
24            TMS objec       o hi Re e a a g men a i e o he e en he Re e                            o     oa       me
25   ce ain fac o o he        i e o e me e allega ion a fac . TMS f                  he objec      o hi Re      e     o
26   he e en i call fo a legal concl ion and                     ec la ion. TMS f        he objec        o he h a e
27        fficien o Iden if     a    ag e and ambig o . TMS f                he objec      o hi Re e          and i
28
                                                                                                Ca e No. 3:19-c -05711
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 1   incl ion of all Doc men        a o e l b oad and nd l b den ome on i face. TMS f                                    he
 2   objec     o he e ec i e defini ion of he e m            Dialing E i men            and Yo          a    e fo h in
 3   Gene al Objec ion B & C,       p a. TMS f      he objec          o he ca i ali ed e m Yo                   a       ag e
 4   and ambig o , a ic la l        he e, a he e, he ca i ali ed e m i no defined b                     he Re       e    .
 5

 6   REQUEST NO. 25: All con ac o             i en nde            anding be een Yo and T i m h Me chan
 7   Sol ion .
 8   ANS      ER: TMS objec      o hi Re e a i ele an , no                  o o ional o he need of hi ca e,
 9   and o e l b oad in ha i i no limi ed in co e, a ic la l ,                   he e, a he e, TMS              b ine
10    ela ion hi      i h T i m h Me chan Sol ion , if an a all, incl ding all of TMS con ac
11       i h T i m h Me chan Sol ion , i no onl no a i                      eb       al o incl de        bjec ma e
12       n ela ed o he TCPA. TMS f       he objec   o he h a e              i en nde          anding     a      ag e and
13   ambig o . TMS f          he objec     o he defini ion of he e m Yo                   a     e fo h in Gene al
14   Objec ion C,      p a.
15

16   REQUEST NO. 26: All Comm nica ion be een Yo                            and T i m h Me chan Sol ion
17    ega ding he lacemen of elema ke ing call on Yo                 behalf o fo Yo          benefi .
18   ANS      ER: TMS objec      o hi Re e a i ele an , no                  o o ional o he need of hi ca e,
19   and o e l b oad in ha i i no limi ed in co e, a ic la l ,                   he e, a he e, TMS              b ine
20    ela ion hi      i h T i m h Me chan Sol ion , if an a all, i no a i                  e. TMS f          he objec
21   o hi Re e         a a g men a i e o he e en he Re e                         o      oa      me ce ain fac                o
22   o he    i e o e me e allega ion a fac . TMS f               he objec    o hi Re e           o he e en i call
23   fo a legal concl ion and      ec la ion. TMS f         he objec        o hi Re e and i incl ion of
24       All Comm nica ion    a o e l b oad and nd l b den ome on i face. TMS f                              he objec
25   o he e ec i e defini ion of he e m Yo              a        e fo h in Gene al Objec ion C,              p a. TMS
26   f     he objec    o he ca i ali ed e m Yo      a       ag e and ambig o , a ic la l                 he e, a he e,
27   he ca i ali ed e m i no defined b      he Re e          .
28
                                                                                                Ca e No. 3:19-c -05711
          DEFENDANT S OBJECTIONS AND RESPONSES TO FIRST SET OF REQUESTS FOR PRODUCTION
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